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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                               )
JAMES HAYDEN,                                  )
                                               )
        Plaintiff,                             )       CASE NO. 1:17-cv-02635-CAB
                                               )
v.                                             )       JUDGE CHRISTOPHER A. BOYKO
                                               )
2K GAMES, INC., et al.,                        )
                                               )
        Defendants.                            )
                                               )


 PLAINTIFF’S OBJECTIONS AND COUNTER-DESIGNATIONS TO DEFENDANTS’
                     DEPOSITION DESIGNATIONS

        Plaintiff, James Hayden, submits the following objections and counter-designations to

Defendants’ deposition designations (Dkt. # 215-1) pursuant to the Court’s Order. Mr. Hayden’s

counter-designations are not an admission that such testimony is appropriate for use by

Defendants at trial. Mr. Hayden objects to the extent Defendants’ attempt to submit deposition

testimony from a non-party, non-testifying witness (or individual) on hearsay grounds. Mr.

Hayden also objects to Defendants’ attempt to submit deposition testimony for any witness that

Mr. Hayden calls live at trial.

        Further, Mr. Hayden reserves the right to submit any deposition testimony designated by

Defendants or counter-designated by Mr. Hayden as if he affirmatively designated such

testimony; to supplement his designations, including designations for authentication purposes;

and to use any deposition testimony that does not appear in these designations for purposes of

impeachment. Mr. Hayden continues his investigations and trial preparations and reserves the

right, in appropriate circumstances and in accordance with all applicable Federal Rules, Local


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Rules, and Court Orders, to amend, supplement, and/or withdraw his designations, including, but

not limited to, in response to further negotiations between the parties, Court Orders and rulings,

and other developments in the case.

                                                                                Defendants’
                          Plaintiff’s Objections
     Defendants’                                       Plaintiff’s Counter      Objections to
                             to Defendants’
     Designations                                         Designations       Plaintiff’s Counter
                              Designations
                                                                                Designations
                                      Witness: James Hayden
 9:1-9:3                                          9:4–11
 9:10-9:15
 13:24-13:25
 14:1-14:11                                            17:9–10
 21:25-22:2               FM
 24:2-24:3
 25:1-25:3                FM, SP
 25:20-25:25              RV                           26:1–22
 26:25-27:1               RV
 29:22-30:4               FM
 30:5-30:6                NT
 30:8-30:9                FM
 30:10-30:12
 30:13-30:14              NT
 30:16-30:16              IH
 30:17-30:23              IH
 30:24-30:25              NT
 31:2-31:2                IH
 31:3-31:3                NT
 31:5-31:5                IH
 31:23-31:25              NT
 32:5-32:5                FM
 32:6-32:14
 34:3-34:6                FM, IH, RV
 37:9-37:11               RV
 38:10-38:11              NT
 38:13-38:13              FM, IH, RV
 38:14-38:16              FM, RV


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                                                                         Defendants’
                   Plaintiff’s Objections
   Defendants’                                  Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                    Designations       Plaintiff’s Counter
                       Designations
                                                                         Designations
38:15-38:16        FM, RV
38:17-38:19        FM, RV
38:22-38:24        FM, RV
39:4-39:7          NT
39:10-39:14        FM, RV
39:15-39:17        NT
39:23-39:23        FM, RV
39:24-39:25        NT
40:2-40:2          FM
41:9-41:10         NT
41:12-41:18        RV                           41:19–25
42:1-42:3          NT
42:5-42:5          FM, IH, RV
42:16-42:18        NT
42:20-42:20        FM, IH, RV
43:3-43:5          NT
43:7-43:7          FM, IH, RV
43:13-43:16        FM, IH, RV
44:6-44:8          NT
44:10-44:10        FM, IH, RV
47:2-47:12
47:13-47:16        FM
47:17-47:19
48:10-48:18
48:22-48:25
49:1-49:6          RV
49:13-49:15        NT
49:17-49:17        FM
50:1-50:7
50:13-50:18        RV
50:18-50:18        RV
51:3-51:4          NT
51:6-51:8          FM, RV                       51:9–16
52:3-52:9


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                                                                         Defendants’
                   Plaintiff’s Objections
   Defendants’                                  Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                    Designations       Plaintiff’s Counter
                       Designations
                                                                         Designations
55:17-55:21
56:11-56:12        NT
56:14-56:17                                     56:20–22
58:3-58:5                                       57:18–58:10
58:11-58:12        NT
58:14-58:15        FM                           58:20–24
58:25-59:2         NT
59:4-59:4
60:15-61:1         FM, RV
61:3-61:9          FM, RV, LC
61:16-61:20        FM
61:20-61:20        FM
61:21-61:23        NT
62:6-62:9          RV                           62:10–11
62:20-62:25        RV
65:19-65:22        AA, SP                       65:16–18
65:24-66:1         SP
66:16-66:22        RV
67:12-67:13        NT
67:15-67:17        RV
69:12-69:15        NT
69:17-69:17        FM, RV, LC
69:18-69:19        NT
69:21-69:21        FM, RV, LC
71:23-71:25        NT
72:2-72:2
72:15-73:3
75:8-75:18         AA, FM                       73:25 – 75:7
75:20-75:20        FM
77:12-77:14        NT
77:21-77:21        FM, RV, LC
77:22-77:24        NT
78:1-78:1          FM, RV, LC
78:2-78:5          NT


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                                                                          Defendants’
                   Plaintiff’s Objections
   Defendants’                                   Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                     Designations       Plaintiff’s Counter
                       Designations
                                                                          Designations
78:7-78:7          FM, RV, LC
78:20-78:22        NT
78:24-78:24        FM, RV, LC
78:25-79:2         NT
79:9-79:9          FM, RV, LC
79:10-79:11        FM, RV, LC
81:2-81:7          FM
81:25-82:1         NT
82:3-82:3          AF, FD
82:6-82:13                                      82:19 – 83:5
84:19-84:23                                     83:21 – 84:18
85:8-85:9          NT
85:11-85:11
90:13-90:22
91:1-91:3
91:4-91:9
92:1-92:4          RV
92:5-92:7          NT
92:9-92:9          RV
92:10-92:12        NT
92:19-92:19        FM, RV, LC
93:3-93:7
93:9-93:9                                       93:10–13
93:14-93:15
93:16-93:24
94:1-94:1
94:6-94:8
94:9-94:14
94:13-94:15
94:17-94:21        LC, RV
94:23-94:23
95:8-95:14                                      95:4 – 7
95:16-95:16
95:20-96:9


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                                                                         Defendants’
                   Plaintiff’s Objections
   Defendants’                                  Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                    Designations       Plaintiff’s Counter
                       Designations
                                                                         Designations
96:11-96:12        MR
96:14-96:19        MR
97:2-97:3          NT
97:5-97:5          FM
97:9-97:13
97:18-97:24
99:23-99:25        NT
100:2-100:10
100:15-100:16
112:13-112:16
112:24-113:2
113:8-113:15
113:16-113:18      RV
114:12-114:13      NT                           114:1 – 11
114:15-114:15      RV
115:15-115:18
115:16-115:21      MR
115:23-115:23      MR
116:20-116:23
117:2-117:4        MR, RV, FM
117:7-117:9        NT
117:11-117:11      MR, RV, FM
118:5-118:6        NT
118:8-118:9
118:19-118:22      MR, RV, FM
119:1-119:12
119:21-119:23      NT
119:25-120:6
120:8-120:11
120:13-120:13
120:19-120:22      NT
120:24-120:24      LC, RV, FM
126:16-126:23
126:25-127:1


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                                                                         Defendants’
                   Plaintiff’s Objections
   Defendants’                                  Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                    Designations       Plaintiff’s Counter
                       Designations
                                                                         Designations
127:6-127:16       LC, FM
128:25-129:3       NT
129:5-129:5        MR, FM, LC, AF
129:6-129:9        NT
129:11-129:11      MR, FM, LC, AF
129:20-130:1       NT
130:8-130:8        MR, FM, AF                   130:8 – 14
130:17-130:22      MR, FM, AF
130:23-131:3       NT
131:4-131:4
132:2-132:4        MR, MD
132:6-132:12       NT
132:14-132:14      MR, MD
132:15-132:15      NT
132:17-132:19      MR, MD
132:20-133:7       MR, MD
133:16-133:17      MR, MD
134:21-134:23      MR, MD
134:25-134:25      MR, MD
134:25-135:11      MR, MD
136:10-136:12      NT
136:14-136:14
137:8-137:18       NT
137:20-137:20      LC, RV, FM
139:12-139:17      AF, RV
139:19-139:19      AF, RV
142:9-142:11       NT
142:14-142:16      FM, RV
142:17-142:19      NT
142:21-142:25      FM, RV
143:2-143:3
144:1-144:3        NT
144:5-144:5        RV, LC, FM
144:22-144:24      NT


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                                                                         Defendants’
                   Plaintiff’s Objections
   Defendants’                                  Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                    Designations       Plaintiff’s Counter
                       Designations
                                                                         Designations
145:1-145:1        RV, LC, FM
145:4-145:6        NT
145:8-145:8        RV, LC, FM                   145:9 – 17
148:17-149:1       RV, LC, FM
150:8-150:12       MR, RV, LC, FM               149:8 – 150:7
152:3-152:5        NT
152:7-152:7        FM, MR, RV, LC
155:14-155:19      FM, LC
155:22-155:25      NT
156:2-156:2        FM, LC
156:3-156:11       FM, RV, IH
156:13-156:13      FM, RV, IH
158:13-158:17      SP
160:17-160:18      NT
160:20-160:20      FM, RV, IH, FD
161:20-162:11      AS, FM, RV, SP               162:12 – 15
173:6-173:12       SP, RV
177:24-178:6
178:11-178:15                                   178:16 - 19
178:20-178:22
179:20-179:23                                   179:1 – 19
180:1-180:4
180:22-181:8                                    181:9 – 182:9
182:10-182:12                                   182:13 - 21
182:22-183:2
183:8-183:10
184:2-184:3        NT
184:5-184:5
186:21-186:25
187:19-187:21
189:19-189:22      RV, LC, FM
190:9-190:14                                    190:15 – 18
190:19-190:24
191:12-191:21


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                                                                          Defendants’
                   Plaintiff’s Objections
   Defendants’                                   Plaintiff’s Counter      Objections to
                      to Defendants’
   Designations                                     Designations       Plaintiff’s Counter
                       Designations
                                                                          Designations
192:1-192:4
192:14-192:22                                   192:5 – 13
192:23-193:2
194:8-194:20
194:21-195:6
195:10-195:12
196:24-197:4
197:15-197:18
203:1-203:4
203:8-203:12
204:18-204:21      RV
205:16-205:20      RV, FM
208:10-208:11      NT
208:13-208:17
208:19-208:25
209:2-209:6        RV, FM, SP
209:8-209:19       NT, FM, RV, SP
209:21-209:25      FM, RV, SP
210:2-210:5        FM
210:8-210:9        NT
210:11-210:12
210:14-210:16      FM
210:18-210:22      FM
210:24-211:2       FM                           211:3 – 212:1
212:4-212:8        NT
212:10-212:12      FM
212:14-212:16      FM
212:21-212:25      FM, LC
213:2-213:6        FM, LC
213:8-213:16       FM, LC
221:1-221:4        FM, LC
                             Witness: LeBron James
10:3-10:6
18:1-18:3                                       18:4 – 5


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
18:6-18:9
                                              19:10 – 19, 20:3 –
18:22-18:24                                   22:13, 23:7 – 18,
                                              28:15 – 34:11
34:12-34:23                                   34:24 – 38:25
39:1-39:9                                     39:10 – 40:13
40:14-40:19
45:5-45:24                                    44:3 – 45:4
45:25-46:12                                   46:13 – 48:9
48:10-48:12
48:15-48:16
48:18-48:21
48:22-49:8                                    49:9 – 15
49:16-49:23
50:2-50:9                                     50:10 – 15
50:16-51:3                                    51:4 – 7
51:8-51:23                                    51:24 – 55:7
55:8-55:10
55:12-55:12
55:14-55:19                                   55:20 – 56:16, 56:21
                                              58:21 – 59:2, 60:9 –
                                              25, 61:25 – 62:5,
66:14-67:3
                                              62:14 – 64:18, 67:12
                                              – 73:2
73:20-73:23                                   74:3 – 7
74:9-74:14
75:11-76:5
76:7-76:13
76:16-76:21
76:23-76:24
77:2-77:10
77:15-77:18
77:20-77:25
78:5-78:5
78:7-78:9


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
78:10-78:23                                   78:24 – 79:7
79:10-79:12
79:16-79:18
79:20-79:25                                   80:4 – 80:11
81:5-81:19
                                              82:9 – 19, 90:17 –
81:22-81:22
                                              91:10, 93:14 – 94:9
103:20-104:1
104:2-104:3
104:6-104:8                                   104:10 – 105:1
106:11-106:16      LC, LD
107:2-107:14       LD
108:7-108:16       LD
108:19-109:4       LD
109:6-109:9        LD
109:10-109:14      LD
109:16-109:19      LD
109:20-110:23      LD
110:25-111:13      LD
111:15-111:18      LD
111:21-112:11      RV
112:12-112:16      LD, FM, LC
112:19-112:19      LD, FM, LC
112:21-113:6       LD, LC
113:9-113:12       LD, LC
113:14-114:1       LD, LC
114:4-114:4        LD, LC
114:6-114:13       LD
114:15-114:18      LD
114:21-115:2       LD, LC
115:5-115:5        LD, LC
115:7-115:13       NT, LD
115:15-115:15      LD
115:17-115:17      NT


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
115:19-115:19      LD
115:21-116:7       RV
116:9-116:9        LD, RV
116:11-116:21      NT, LD
116:23-116:23      LD
116:25-116:25      NT, LD
117:2-117:2        LD
117:4-117:9        NT, LD
117:11-117:11      LD
117:13-117:14      LD
117:17-118:10      LD, RV
118:14-118:21      LD, RV
118:22-119:4       LD, RV
119:8-119:11       LD, SP, IH, RV
119:13-120:1       LD, RV
120:3-120:3        LD, RV, LC
120:5-120:5        NT, LD
120:7-120:7        LD, LC
120:9-120:11       NT, LD
120:14-120:15      LD, LC, MR
120:17-120:25      NT, LD
121:2-121:2        LD, LC
121:4-121:4        NT, LD
121:6-121:6        LD, LC
121:8-121:18       NT, LD
121:20-121:20      LD, MR
121:22-121:23      LD, MR
122:2-122:9        NT, LD
122:11-122:11      LD, RV
122:13-122:13      NT, LD
122:15-122:15      LD, RV
122:17-122:19      NT, LD
122:22-122:22      NT, LD
122:25-123:6       LD, RV, LC


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
123:8-123:13       NT, LD
123:15-123:15      LD, LC
123:17-123:17      NT, LD
123:19-123:19      LD, LC
123:21-123:23
124:15-124:20      NT, LD              124:2 – 7
124:22-124:22      LD, LC
124:24-124:25      LD, LC
125:3-125:11       NT, LD
125:13-125:13      LD, LC
125:15-125:15      NT, LD
125:17-125:17      LD, LC
125:19-126:9       LD, LC
126:12-126:14      LD, LC
126:17-127:7       LD, FM, LC
127:11-127:13      LD, FM, LC
127:15-127:23      NT, LD
127:25-127:25      LD
128:2-128:2        NT, LD
128:4-128:4        LD
128:6-128:14       LD, RV              129:16 – 130:9
                            Witness: Danny Green
                                       15:8 – 17:3, 17:10 –
7:6-7:11
                                       23, 21:17 – 22:2
22:3-22:5
22:18-22:20
22:23-22:25
                                              23:13 – 24:7, 27:14 –
23:4-23:12                                    30:6, 31:18 – 32:23,
                                              33:8 – 20
33:21-33:25
34:2-34:10
34:12-34:16
                                              35:21 – 36:14, 38:10
35:16-35:20
                                              – 12, 40:21 – 42:16,

                                             13
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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
                                              43:5 – 44:24, 45:6 –
                                              52:16
51:18-51:24
52:3-52:16
57:16-57:18                                   56:3 – 57:6,
58:15-58:24                                   58:25 – 59:8
                                              63:8 – 65:10, 65:14 –
65:11-65:13
                                              67:14, 72:23 – 76:18
76:19-76:25
77:2-77:15                                    77:16 – 78:11
82:11-82:17                                   82:18 – 83:13
83:14-83:24                                   83:25 – 84:24
95:14-95:16
95:18-95:21                                   98:6 – 107:25
108:2-108:7
108:10-108:25
                                              109:9 – 18, 110:21 –
109:2-109:3
                                              114:13
125:24-126:7                                  116:6 – 124:21
126:24-127:6                                  130:10 – 131:22
132:8-132:12       LD, AA, RV
132:18-132:20      NT
133:2-133:2        LD, AA, RV
133:3-133:4        NT
133:10-133:10      LD, AA, RV
133:11-133:14      NT
133:20-133:25      LD, AA, RV, LC
134:2-134:6        LD, AA, RV, LC
134:7-134:12       NT
                   MR, LD, LC, RV,
134:18-134:25
                   AA
                   MR, LD, LC, RV,
135:2-135:2
                   AA
                   MR, LD, LC, RV,
135:8-135:9
                   AA


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
135:18-135:19      NT
136:7-136:21       LD, AA, RV
136:22-136:22      LD, AA, RV
137:5-137:18       LD, AA, RV
138:6-138:9        LD, AA, RV
138:12-138:18      LD, AA, RV
138:21-138:21      LD, AA, RV
139:17-139:25      LD, AA, RV
140:2-140:9        LD, AA, RV, MR
140:12-140:21      LD, AA, RV, MR
141:3-141:5        LD, AA, RV, MR
141:8-141:15       LD, AA, RV
141:18-141:18      NT
141:21-141:25      LD, AA, RV
142:2-142:19       LD, AA, RV
142:20-142:25      NT
143:2-143:9        LD, AA, RV
143:12-143:13      NT
143:16-143:25      LD, AA, RV
144:2-144:5        NT
144:7-144:8        LD, AA, RV, LC
144:10-144:10      LD, AA, RV, LC
144:13-144:25      LD, AA, RV, LC
145:2-145:8        LD, RV
145:11-145:11      LD, RV
145:12-145:25      NT
146:2-146:2        NT
146:5-146:7        LD
146:10-146:10      LD
146:11-146:25      LD, RV
147:2-147:14       LD, RV
147:15-147:25      LD, RV, AA
148:2-148:5        NT
148:8-148:9        LD, RV, AA


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
148:12-148:16      LD, RV, AA
148:19-148:19      LD, RV, AA
148:25-148:25      NT
149:2-149:3        NT
149:6-149:7        LD
149:8-149:25       LD, FM, MR
150:2-150:6        LD, AA, FM, MR
                   LD, FM, MR, AA,
150:7-150:20
                   LC
                   LD, FM, MR, AA,
150:23-150:25
                   LC
                   LD, FM, MR, AA,
151:4-151:10
                   LC
151:13-151:17      NT
151:20-151:23      LD, LC, RV
151:24-151:25      LC, RV
152:2-152:2        NT
152:5-152:5        FM, LC, RV
152:6-152:14       LD, LC, FM
152:17-152:20      LD, LC, FM, RV
152:23-152:25      LD, RV
153:2-153:5        LD, LC, RV
153:8-153:18       LD, LC, RV, AA
153:21-153:25      LD, LC, RV, AA
154:2-154:9        LD, AA, RV
154:12-154:20      AA, RV
155:2-155:13       NT
155:16-155:18      LD, MR, AA, LC, SP
155:21-155:25      LD, MR, AA, LC, SP
156:2-156:4        LD, AA, MR
156:15-156:24      NT
157:3-157:4        LD, AA, FM, MR
157:7-157:13       LD, AA, FM, MR
157:16-157:17      LD, AA, FM, MR
157:20-157:20      LD, AA, FM, MR

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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
157:21-157:25      NT
158:7-158:7        LD, FM, AA, LC
158:8-158:20       NT
158:23-158:25      LD, MR, AA
159:4-159:4        LD, MR, AA
159:10-159:16      NT
                   LD, FM, AA, MR,
159:20-159:25
                   LC
160:2-160:10       NT
160:13-160:16      LD, MR, SP, FM, RV
160:17-160:20      NT
160:23-160:25      LD, SP, RV
161:2-161:12       NT
161:15-161:17      LD, FM, SP, RV
161:20-161:25      LD, FM, SP, RV
162:2-162:5        NT
                   LD, AA, SP, FM,
162:7-162:8
                   RV, MR
                   LD, AA, SP, FM,
162:11-162:19
                   RV, MR
162:22-162:23      LD, AA
163:2-163:14       LD, AA, LC, RV
163:17-163:19      LD, AA, LC, RV
163:22-163:25      LD, AA, LC, RV
164:2-164:11       LD, AA, LC, RV
164:20-164:25      NT
165:2-165:7        NT
165:9-165:11       LD, AA, LC, RV
165:13-166:13      LD, AA, LC, RV
                   LD, MR, AA, FM,
166:16-166:22
                   RV
                   LD, MR, AA, FM,
166:25-166:25
                   RV
167:2-167:15       NT
167:18-167:19      LD, MR, AA, RV


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
167:22-167:22      LD, MR, AA, RV
167:23-167:25      NT
168:2-168:15       LD, RV
168:16-168:25      NT
169:2-169:7        NT
169:10-169:12      LD, RV, AA
169:16-169:19      NT
169:23-169:23      LD, RV, AA
169:24-169:25      NT
170:2-170:2        NT
170:6-170:19       LD, RV, AA
170:20-170:24      NT
171:3-171:17       LD, RV, AA, LC
171:20-171:22      LD, RV, AA, LC
171:25-171:25      LD, RV, AA, LC
172:2-172:13       LD, RV, SP, RV
172:16-172:16      NT
172:19-172:19      LD, RV, SP, RV
173:6-173:17       LD, LC, RV, AA
173:20-173:21      NT
173:24-173:25      LD, LC, RV, AA
174:2-174:4        NT
174:7-174:7        LD, LC, RV, AA
174:8-174:11       NT
174:14-174:14      LD, MR, RV, AA
174:18-174:20      NT
174:23-174:23      LD, RV, AA
175:6-175:14       NT
175:17-175:17      LD, MR, AA
176:14-176:21      NT
176:23-176:24      LD, MR, AA, RV
177:3-177:7        LD, MR, AA, RV
177:10-177:13      LD, RV, AA
177:16-177:21      LD, MR, RV, AA


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
177:25-177:25      LD, AA, RV
178:2-178:7        NT
178:20-178:20      LD, RV, MR
                                              180:15 – 182:14,
191:11-191:22                                 185:2 – 9, 185:21 –
                                              25, 188:3 – 189:25
192:4-192:10
192:11-192:14
192:22-192:25
193:2-193:25
194:4-194:9
                            Witness: Tristan Thompson
8:13-8:16
19:23-19:25
20:6-20:10                                    20:25-21:7
35:7-35:12                                    35:13-25
36:2-36:4
36:9-36:13
37:3-37:5                                     36:22-37:1
43:12-44:5
44:7-44:10
45:7-45:15                                    45:2-6
46:23-47:5                                    45:16-46:22
50:23-51:9                                    51:10-53:20
63:6-64:5
93:19-94:5         LD
95:12-96:19        LD, LC
96:20-97:11        LD, FM
97:16-97:16        LD
97:17-99:2         LD, LC, FM
99:5-99:5          FM
99:7-100:1         LD, LC
100:4-100:21       LD, LC, FM
100:24-100:24      FM


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
101:2-101:18       LD, LC
101:22-102:12      LD, LC, FM
102:15-102:15      FM
104:8-104:9        AA, NT
104:13-105:14      AA, LC, LD
105:17-105:17      FM
105:19-106:16      LD, LC
106:17-107:6       LD, LC, FM
107:9-107:9        FM
107:11-107:23      LD, AF, FM
108:1-108:1        FM
109:9-109:23                              110:13-24
                               Witness: Jon Hayden
8:4-8:9            NT
11:23-12:3         RV
12:10-12:11        RV
13:15-13:19        RV
22:17-22:23        RV/FM                      23:6-17, 30:20-31:16
39:18-39:20        RV/FM/FD
39:23-40:1         RV/FM
40:3-40:10         RV/FM
40:22-41:3         RV/FM
41:4-41:6          RV/FM/LC
41:9-41:15         RV/FM/LC
49:7-49:9          RV/FM
49:12-49:12        RV
52:25-53:2         NT
53:4-53:4          RV/FM/LC
54:4-54:14         RV/FM
55:8-55:15         RV/FM
55:17-55:17        RV/FM
56:11-56:13        NT
56:15-56:15        RV/FM
59:15-59:18        RV


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
60:22-61:4         RV
61:5-61:8          RV/FM
61:10-61:12        RV/FM
61:14-61:14        RV/FM
69:4-69:6          NT
69:8-69:8          RV/FM
70:4-70:5          NT
70:8-70:8          RV/FM/LC
70:9-70:10         NT
70:12-70:12        RV/FM/LC
71:2-71:12         RV/FM
71:15-71:15        RV/FM                      71:22-72:3
72:13-72:15        NT
72:17-72:19        RV/FM
72:22-73:2         RV/FM/LC
73:5-73:9          RV/FM
74:4-74:14         RV
80:23-80:25        RV
93:25-94:2         NT
94:5-94:5          RV/FM
97:22-97:24        RV
98:10-98:15        RV
103:6-103:12       RV
115:3-115:13       NT/RV                      108:16-109:2
117:3-117:5        RV
117:6-117:10       RV
117:11-117:13      NT
117:16-117:16      RV/FM
                   RV                         130:8-18, 136:21-
127:8-127:11
                                              137:3
187:12-187:14      NT
187:17-187:25      RV/FM
188:3-188:3        RV/FM
188:4-188:5        NT


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
188:7-188:10       RV/FM
188:13-188:13      RV/FM/LC
190:10-190:16      RV/FM
190:18-190:20      NT
190:23-190:24      RV/FM
190:25-191:13      NT/RV
191:16-191:24      RV
191:25-192:5       NT
192:8-192:9        RV/FM/MD
192:23-193:2       NT
193:5-193:5        RV/FM/SP
193:6-193:8        NT
193:19-193:19      RV/FM/SP
193:20-193:22      NT
193:25-193:25      RV/FM/SP
201:1-201:8        RV
206:1-206:10       RV
206:13-206:15      RV/FD
207:1-207:4        RV/FM
207:7-207:7        RV/FM
248:6-248:8        RV/FD                      255:3-256:5
260:24-261:15      NT/RV
262:15-262:18      RV
263:13-263:14      NT
263:23-263:25      RV/RM
264:7-264:18       NT/RV
265:6-265:8        RV/FM
266:20-267:9       NT/RV
268:4-268:5        NT
268:8-268:10       RV/FM/FD
268:11-268:11      RV
268:14-268:19      NT/RV
268:21-269:9       RV
269:12-269:20      RV


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
270:6-270:16       RV
272:5-272:21       NT/RV
273:22-274:12      NT/RV
274:16-274:16      RV/FM/FD
276:8-276:13       RV
276:15-276:16      RV/FM
276:18-276:19      RV/FM
276:23-276:23      NT
277:1-277:2        RV/FM/FD
277:3-277:4        NT
277:7-277:7        RV/MR
277:9-277:22       NT/RV
278:2-278:4        RV
278:13-278:14      NT
278:16-278:22      RV/FM
278:25-279:4       RV/FM                      278:22-279:11
279:12-279:13      NT
279:16-279:16      RV/FM
279:25-280:14      NT/RV                      280:22-282:2
281:1-281:3
281:6-281:7
281:22-281:23
282:1-282:2
282:3-282:19       NT/RV
283:5-283:7                                   282:23-283:20
285:3-285:21       NT/RV
285:22-286:23                                 285:25-286:3
300:2-300:7        RV
308:5-308:7        NT
308:10-308:10      RV/SP/FD
316:23-316:25      NT
317:2-317:2        RV/FM
317:12-317:16      NT
317:17-317:17      RV/FM/LC


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
320:6-320:7        NT
320:9-320:12       RV/FM
320:15-320:16      RV/SP
321:11-321:12      NT
321:15-321:15      RV/SP
322:6-322:8        RV
324:21-324:22      NT
324:25-325:2       RV/FD
325:5-325:8        RV/LC
327:13-327:14      NT
327:16-327:24      RV/FM
328:2-328:2        RV/LC
328:13-328:15      NT
328:18-328:22      RV/LC
328:25-328:25      RV/FM
336:24-336:25      NT
337:3-337:5        RV/FM
                        Witness: Bernardino Tovanche
7:12-7:15          RV
8:4-8:9            RV
9:24-10:8          RV
10:12-10:12        RV/IH/SP
11:18-11:20        NT
11:24-12:7         RV/FM/IH/SP         13:4-14:10, 16:6-21
21:1-21:1          NT
21:4-21:7          RV/FM               21:16-22:1
22:8-22:9          NT
22:12-22:17        RV/SP               22:8-23:4
22:20-23:5
23:8-23:8          RV/FM/SP                   24:5-22, 26:17-27:1
30:20-30:20        NT
30:23-31:9         RV/FM/NT/FD
31:18-31:20        RV/FD


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
32:18-32:21        RV
32:22-33:4         RV
33:21-34:1         RV                         33:6-20
34:4-34:15         RV/IH
34:18-34:23        RV/SP
35:1-35:2          RV/FD/SP
36:3-36:4          NT
36:7-36:14         RV/SP
36:15-37:4         RV
37:7-37:9          RV/FM
46:20-46:24        RV
47:7-48:23         RV
54:20-54:22        NT
54:25-55:4         RV/FM/LC
55:7-55:11         RV/FM
55:15-55:18        RV/FM/LC
55:21-55:24        RV/FM/LC
56:2-56:2          RV/FM/LC
56:3-56:5          NT
56:8-56:8          RV/SP
56:15-56:17        NT
56:20-56:23        RV/LC
56:25-56:25        NT
57:5-57:7          RV/MR/SP/LC
57:10-57:10        RV/FM
86:4-86:22         RV/NT
86:25-87:7         RV/FD/SP
87:20-87:20        NT
87:25-88:19        RV
89:12-89:13        NT
89:16-89:20        RV/FM
89:21-89:21        NT
89:24-90:3         RV/FM


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
90:6-90:6          NT
90:9-90:12         RV/FM
90:20-90:20        NT
90:23-90:23        RV/FM
91:7-91:9          RV/FM
91:13-91:18        RV
95:24-95:25        NT
96:4-96:4          RV/FM/IH/SP
96:20-96:20        NT
96:24-97:2         RV/FM/IH/SP
97:4-97:4          RV/FM                      99:20-100:2
102:1-102:3        NT
102:9-102:11       NT
102:14-102:14      RV/SP/FD
102:15-102:17      NT
102:20-102:20      RV/SP
102:25-103:2       NT
103:5-103:5        RV/SP/FD
103:9-103:12       NT
103:15-103:16      RV/SP/FD
103:20-103:22      RV/FM
103:25-104:5       RV
104:8-104:11       RV/LC
104:14-104:14      RV/FM
105:4-105:7        NT
105:11-105:11      RV/FM
105:14-105:16      NT
105:19-105:24      RV/SP/FD
106:25-107:1       NT
107:4-107:4        RV/FM
107:5-107:7        NT
107:10-107:10      RV/FM
108:3-108:7        RV


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
108:10-108:10      RV/FM
108:13-109:2       NT
109:7-109:9        NT
109:22-109:22      NT
109:25-110:1       RV/SP/FD
110:6-110:9        NT
110:12-110:21      RV/FM/SP
110:24-111:2       RV/FM
111:5-111:5        RV/SP
113:24-114:3       RV
114:4-114:4        RV
114:5-114:6        NT
114:9-114:9        RV/SP
114:18-114:20      RV/FM
116:9-116:10       NT
116:13-116:23      RV/FM/HR
117:5-117:19       NT/RV
117:22-117:25      RV/MD
118:1-118:2        NT
118:5-118:6        RV/FM
118:9-118:9        RV/MD
118:10-118:10      NT
118:13-118:15      RV/MD
118:16-118:16      RV/MD
118:17-118:20      RV/MD
118:23-118:24      RV/FM
119:2-119:3        NT
119:6-119:6        RV/FM
119:9-119:9        NT
119:13-119:13      RV/FM
122:5-122:7        NT
122:10-122:11      RV/SP/FD
122:12-122:14      NT


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
122:17-122:17      RV/FM
123:1-123:3        NT
123:6-123:13       RV/FM/LC
124:5-124:7        NT
124:9-124:9        RV/FM/LC
124:10-124:12      NT
124:14-124:17      RV/FM/LC
124:20-124:20      RV/FM/LC
124:21-124:23      NT
125:1-125:1        RV/FM/LC
125:13-125:15      NT
125:17-125:20      RV/FM/LC
125:22-126:1       RV/FM/LC
126:13-126:14      NT
126:17-126:17      RV/SP
127:3-127:6        RV
127:16-128:13      NT/RV
128:19-128:20      RV/FM
128:21-128:25      RV
128:24-129:3       RV
129:4-129:5        NT
129:8-129:14       RV/MR
129:17-129:23      RV/SP/FD
130:1-130:9        RV/FM
130:15-130:17      RV                         132:10-134:5
133:7-133:8        RV
133:9-133:17
134:6-134:9        RV
134:13-134:25      RV/IH/SP
135:3-135:10       RV/SP/FD
135:13-135:16      RV/LC
135:18-135:20      RV/LC
135:25-136:4       NT
136:8-136:8        RV/FM/LC

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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
136:14-136:15      RV/FM
136:18-136:18      RV/SP/FD
138:11-138:15      RV/FM/SP
138:18-138:22      RV/FM
138:25-139:3       RV
140:4-140:6        RV
140:15-140:17      RV
141:7-141:25       NT/RV
142:16-142:17      NT
142:20-142:22      RV/FD
143:23-144:4       RV
144:7-144:11       RV/SP/FD
144:14-144:17      RV/FM/SP/FD/LC
144:20-144:20      RV/FM/SP/FD/LC
144:21-144:22      NT
144:24-145:2       RV/FM/SP/FD/LC
145:4-145:7        RV/FM/SP/FD/LC
145:9-145:11       RV/FM/SP/FD/LC
145:13-145:15      RV/FM/SP/FD/LC
148:10-148:12      RV
149:2-149:3        NT
149:6-149:7        RV/FM
151:1-151:2        NT
151:5-151:6        RV/FM
151:10-151:13      RV
151:14-151:25      NT/RV
152:3-152:6        RV
152:25-153:1       NT
153:5-153:9        RV/SP/IH
154:10-154:10      NT
154:13-154:19      RV/FM/SP/IH
155:5-155:6        NT
155:11-155:15      RV/FM/FD
155:23-155:24      NT


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                                                                           Defendants’
                    Plaintiff’s Objections
   Defendants’                                    Plaintiff’s Counter      Objections to
                       to Defendants’
   Designations                                      Designations       Plaintiff’s Counter
                        Designations
                                                                           Designations
156:1-156:1        NT
156:5-156:17       RV/SP/MR
158:10-158:13      NT
158:16-158:20      RV/FM/SP/FD/LC
158:24-158:25      RV/FM/SP/FD/LC
159:1-159:2        NT
159:5-159:5        RV/SP/FD
159:12-159:16      RV
159:19-159:21      RV/SP/FD
159:25-159:25      RV/SP/FD/LC
160:1-160:2        RV/SP/FD/LC
160:5-160:7        RV/SP/FD/LC
160:10-160:12      RV/SP/FD/LC
160:14-160:15      RV/SP/FD/LC
161:8-161:10       RV/SP/FD/LC
161:13-161:15      RV/FM/SP/FD/LC
161:17-161:19      RV/FM/SP/FD/LC
161:21-161:23      RV/FM/SP/FD/LC
162:1-162:1        RV/FM/SP/FD/LC
162:10-162:12      NT
162:16-162:16      RV/SP/LC/IH
163:12-163:14      NT
163:17-163:24      RV/SP/LC
164:2-164:7        RV/FM/LC
164:10-164:10      RV/SP
164:13-164:16      NT
164:19-164:21      RV/FM
165:7-165:11       RV
165:15-165:20      RV/IH/SP/AF
168:23-169:1       NT
169:5-169:6        RV/IH/FM/SP/LC
174:14-174:16      NT
174:20-174:25      RV/IH/SP
175:10-175:13      RV


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                                                                               Defendants’
                        Plaintiff’s Objections
     Defendants’                                      Plaintiff’s Counter      Objections to
                           to Defendants’
     Designations                                        Designations       Plaintiff’s Counter
                            Designations
                                                                               Designations
 176:4-176:6            NT
 176:10-176:11          RV/FM/SP/LC
 176:12-176:16          RV
 177:1-177:1            NT
 177:4-177:7            RV/FM
 177:9-177:9            RV/FM
 177:10-177:14          NT
 177:18-177:24          RV/FM/SP/LC
 178:2-178:2            RV/LC                     178:22-180:14
 182:3-182:5            NT
 182:8-182:19           RV/FM
 182:22-182:23          NT
 182:25-183:2           RV/FM/LC
 183:6-183:8            RV/FM/LC
 183:10-183:10          RV/FM/LC
 184:6-184:10           RV
 184:25-185:1           NT
 185:3-185:3            RV/FM
 187:6-187:12           RV
 187:20-187:21          NT
 187:24-188:10          RV/FM/IH
 188:13-188:13          RV/FM




Objection Key:

1. AA: Asked and answered

2. AR: Argumentative

3. AF: Assumes facts not in evidence

4. FD: Foundation

5. FM: Form


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6. HR: Hearsay

7. IH: Incomplete hypothetical

8. LC: Legal Conclusion

9. LD: Leading

10. MD: Mischaracterizes document

11. MR: Misstates the record

12. NA: Not authenticated

13. NT: Not Testimony/Attorney Colloquy

14. NR: Not responsive to question

15. PV: Privileged

16. PR: Prejudicial

17. RV: Relevance

18. SP: Calls for speculation




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Dated: May 4, 2023                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2023, a copy of the foregoing was filed electronically.

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indicated on the electronic filing receipt, and parties may access this filing through the Court’s

System.

                                                      /s/ Andrew Alexander
                                                      One of the attorneys for Plaintiff




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